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         Case 2:11-cr-00342-HDM-GWF                                     Document 11                           Filed 09/07/11     Page 1 of 1
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             ROBERTO CALDERON                                                     )
                   Depndant                                                       )
                                    ORDER SCHEDULING A DETENTION HEARING


        A detentionhmaring in thiscaseis scheduled as follows:

Pl       fcjrb-
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    ace: 333 LAS VEGAS BLVD . SOUTH
         LA S VEGA S,N V 89101


        IT IS ORDERED: Pendingthehearing,thedefcndantisto bedetained in thecustodyofthe United States
marshalorany otherauthorized officer.Thecustodian mustbring thedefendantto thehearingatthetime,date,andplace
setforth above.




Date: September7,20ll
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                                                                                                  CARL W ,HOFFM AN,U,S.M AGISTRATE JU DGE
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